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                                      UNITED STATES DISTRICT COURT

                                                                   cf~IFORNIA ~J>IJtT
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                                   SOUTHERN DISTRICT OF
 5
                                          April 2018 Grand ~u ry
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 7   UNITED STATES OF AMERICA ,                            Case No .        19 CR 160 2 CAB
 8                     Plaintiff ,                         I N D I C T M E N T
 9                                                                  ;;
           v.                                              Title a, U. S.C ., Sec . 1326 (a)
                                                           and (b) - Attempted Reentry of
10   JESUS J ALEJANDRE - ROSALES ,                         Removed Alien
      aka Jesus J. ALEJANDRE - ROSALES ,
11
      aka Jesus Jafet ALEJANDRE -
12                             ROSALES ,

13                     Defendant .

14
          The grand jury charges :
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          On      or     about    April    12 ,   2019 ,    within        the     Southern        District         of
16
     Californ ia, defendant JESUS J ALEJANDRE - ROSALES , aka Jesus J . Alejandre -
17
     Rosales ,     aka    Jesus    Jafet Alejandre - Rosales ,              an    alien ,      knowingly       and
18
     intentionally attempted to enter the United States of America with the
19
     purpose , i.e ., conscious desire , to enter the United States without the
20
     express consent of the Attorney                Gen~ral   of the United States and his/her
21
     designated         successor ,     the   Secretary       of     the     Department           of    Homeland
22
     Security ,    after having been previously excluded ,                            deported and remo ved
23
     from the Un i ted States , and not having obtained said express consent to
24
     reapply      for    admission      thereto ;    and     committed           an    overt      act   to    wit ,
25
     crossing     the     border      from Mexico     into     the       United        States ,    that      was   a
26
     substantial         step    toward committing the             offense ,          all   in v i olat i on of
27
     Title 8 , United States Code , Section 1326(a) and (b) .
28


     DTK : cms : San Diego:5/7/19
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 1           It is further alleged that defendant JESUS J ALEJANDRE-ROSALES aka

 2   Jesus     J.   Alejandre - Rosales ,   aka   Jesus   Jafet   Alejandre-Rosales   was

 3   removed from the United States subsequent to August 7 , 2006 .

 4           DATED : May 7 , 2019 .

 5                                                    A TRUE BILL :

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 8   ROBERT S . BREWER , JR .
     United States Attorney
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     By :
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             Assistant U. S. Attorney
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